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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:22-cv-01129

  ERIC COOMER, PhD.,

        Plaintiff

  v.

  MICHAEL J. LINDELL, FRANKSPEECH LLC,
  AND MY PILLOW, INC.,

        Defendants


                                   EXHIBIT 34
        Case No. 1:22-cv-01129-NYW-SKC Document 244-7
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        From: Symposium <symposium@frankspeech.com>
           To: Terri Pietz
      Subject: Fwd: Cyber Symposium PROGRAM AGENDA
         Date: Sun, 08 Aug 2021 14:19:51 -0500


   Hi Terri please copy and paste this updated and corrected PROGRAM AGENDA to your signatures and send to
   anyone who you confirm.

   Thanks,

   Kellie




                                               CYBER SYMPOSIUM
                                A Data Analysis of the November 2020 Election
                                                    August 10-12, 2021

    We look forward to seeing you at the Cyber Symposium!
    As a CONFIRMED attendee, please find below a PROGRAM AGENDA.
    Keep in mind, that the symposium is meant to be interactive and will be subject to schedule changes, as new
    information is revealed and panel members join the stage!
    The program will also be in your attendee folder when you check in. Doors will be open by 8am, 7:15am for media.
    Cyber expert guests will be allowed to bring in their own laptop computers.
    Every attendee must pass through security and present a VALID PHOTO ID at check-in.

    Cyber Symposium
    August 10-12, 2021
    The Alliance Military Heritage Alliance, Inc
    1600 W. Russell St.
    Sioux Falls, SD 57104

    Thank you for joining us at this important event.

    Best Regards,

    The Cyber Symposium Team
    symposium@frankspeech.com




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    Cyber Symposium Program Agenda
    August 10-12, 2021 Sioux Falls, SD

    Please note the entire symposium is interactive in nature, and attendees are encouraged to move around at any time,
    listen to the main stage panel, guest speakers. check out the main floor Cyber Center Kiosk, meet with cyber experts
    in the state region Breakout Rooms, visit the Mock Election Room, or network with other state leaders. The entire
    purpose is to reveal and discuss the cyber data packet captures from the November 2020 election. Similar program
    format daily, although with new guests joining the main stage desk, new speaker presentations, and any new
    informationadded from the previous day’s cyber data revelations.
    7:15 am Doors open for media to set-up.
    8:00 am Doors open for attendees. *Pass through security check 1st directly inside main doors. Proceed straight
    ahead to check-in desk to obtain program materials, credentials. Must present valid photo ID at check-in.
           (8:00–10:00 am Complimentary buffet breakfast on main level)
    9:00 am PROGRAM STARTS with a brief WELCOME by Mike Lindell
    9:15 am Opening Prayer
    9:25 am National Anthem & God Bless America
    9:30 am Event overview remarks from Mike Lindell
    9:45 am Legal team remarks
    10:00 am Cyber team lead remarks
    11:00 am Desk panel of five speakers on main stage
           (11:30-1:30 pm Complimentary buffet lunch on main level)
    12:00 pm Cyber Expert – full presentation from podium. Independent cyber experts in attendance from throughout
    the country go to the Breakout Rooms for analysis of the data
    12:45 pm Interactive map board of “certified” results vs cyber data results

    1:15 pm Guest speaker – presentation from podium
    2:00 pm Expert panel discussion
    2:45 pm Guest speaker – presentation from podium
    3:45 pm Afternoon panel with interactive Q & A from attendees
    4:30 pm Cyber Expert team leads on stage with analysis updates from the breakout rooms
    5:00 pm Day portion of the official program ends with wrap-up remarks from Mike Lindell. Panel stays on stage with
    informal discussions, interviews throughout the venue.
           (4:30-6:30 pm Complimentary buffet dinner on main level)


    5:00-9:00 pm Optional informal networking in upper balcony lounge, with venue beverages and menu available for
    purchase. This helps support their veteran facility and veteran employees.


    Get Outlook for iOS




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       From: "Braden, Ansley"
          To: Terri Pietz
     Subject: RE: Cyber Symposium Invitation
        Date: Tue, 03 Aug 2021 10:29:26 -0500


   Unfortunately, the Congressman is unable to attend. Thank you for the invite!

   Respectfully,

   Ansley Braden
   Director of Operations and Scheduling
   Congressman Ken Buck (CO04)




   From: Terri Pietz
   Sent: Monday, August 2, 2021 10:30 AM
   To: Braden, Ansley
   Subject: Cyber Symposium Invitation



                                             CYBER SYMPOSIUM
                               A Data Analysis of the November 2020 Election
                                                   August 10-12, 2021


   Representative Ken Buck,

   As a respected elected representative of the people of the United States, Mike Lindell is extending an invitation
   for you to attend the Cyber Symposium to see the cyber data from the November 2020 election captured from
   foreign sources, including China. The symposium will be held at the ALLIANCE- South Dakota Military
   Heritage Alliance Center in Sioux Falls, South Dakota on August 10th, 11th, and 12th, 2021. This will be a
   high-security event, with all invited attendees and guests cleared by Colorado Security. It will not be open to the
   public.

   There will be presentations by recognized and credentialed cyber experts from throughout the country. These
   experts will also be available to answer any questions you may have. Cyber packet captures from the
   November 2020 election will be available for review. Private breakout sessions will be available for you to
   analyze your state specific data, if you choose. The event program will be held over 3 days to best facilitate your
   needs and schedule. You may attend part or all of the symposium. It will be interactive in nature, and you will be
   free to move between rooms and presentations at any time. The main stage area will be livestreamed, but there
   will also be private breakout and interview rooms. The event program will run between 9am-5pm; with doors
   open at 8 am and closing at 6 pm. Complimentary food and beverages will be available throughout the event.

   Invited attendees will include Governors, US Senators, Lieutenant Governors, Attorneys General, State
   Representatives, Secretaries of State, and State Auditors from both parties and all states in the United States;



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   Cyber Experts; and Media Representatives.

   Please RSVP as soon as possible to reserve your admittance to: symposium@frankspeech.com, including the
   names of any staff who will accompany you and the day or dates you plan to attend. We recommend any
   cyber expert you bring have, at a minimum, CISSP credentials. Registration is required for admittance. Blocks
   of rooms have been reserved for the convenience of symposium attendees at several nearby hotels; please
   coordinate your individual reservations. There will be complimentary shuttle service to the symposium from the
   nearby Sioux Falls Regional Airport.

   We look forward to having you join other leaders and experts at this important event.


   Best Regards,

   The Cyber Symposium Team
   symposium@frankspeech.com




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       From: Terri Pietz
          To: "EMMA.SUMMERS
     Subject: Cyber Symposium Invitation
        Date: Mon, 02 Aug 2021 11:42:05 -0500



                                            CYBER SYMPOSIUM
                              A Data Analysis of the November 2020 Election
                                                 August 10-12, 2021


   Representative Jim Jordan,

   As a respected elected representative of the people of the United States, Mike Lindell is extending an invitation
   for you to attend the Cyber Symposium to see the cyber data from the November 2020 election captured from
   foreign sources, including China. The symposium will be held at the ALLIANCE- South Dakota Military
   Heritage Alliance Center in Sioux Falls, South Dakota on August 10th, 11th, and 12th, 2021. This will be a
   high-security event, with all invited attendees and guests cleared by Colorado Security. It will not be open to the
   public.

   There will be presentations by recognized and credentialed cyber experts from throughout the country. These
   experts will also be available to answer any questions you may have. Cyber packet captures from the
   November 2020 election will be available for review. Private breakout sessions will be available for you to
   analyze your state specific data, if you choose. The event program will be held over 3 days to best facilitate your
   needs and schedule. You may attend part or all of the symposium. It will be interactive in nature, and you will be
   free to move between rooms and presentations at any time. The main stage area will be livestreamed, but there
   will also be private breakout and interview rooms. The event program will run between 9am-5pm; with doors
   open at 8 am and closing at 6 pm. Complimentary food and beverages will be available throughout the event.

   Invited attendees will include Governors, US Senators, Lieutenant Governors, Attorneys General, State
   Representatives, Secretaries of State, and State Auditors from both parties and all states in the United States;
   Cyber Experts; and Media Representatives.

   Please RSVP as soon as possible to reserve your admittance to: symposium@frankspeech.com, including the
   names of any staff who will accompany you and the day or dates you plan to attend. We recommend any
   cyber expert you bring have, at a minimum, CISSP credentials. Registration is required for admittance. Blocks
   of rooms have been reserved for the convenience of symposium attendees at several nearby hotels; please
   coordinate your individual reservations. There will be complimentary shuttle service to the symposium from the
   nearby Sioux Falls Regional Airport.

   We look forward to having you join other leaders and experts at this important event.


   Best Regards,

   The Cyber Symposium Team
   symposium@frankspeech.com




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       From:
          To: KG
     Subject: Re: Cyber Symposium
        Date: Thu, 05 Aug 2021 13:51:54 -0500


   Got it, thanks!
   I'm arriving around 10pm on the 9th.

   On Thu, Aug 5, 2021 at 7:52 AM KG                           wrote:
    Good Morning,

     Your hotel reservation is: #777076
     August 9th-12th

     The Sheraton Sioux Falls & Convention Center
     1211 N W Ave
     Sioux Falls, SD 57104

     Thank you,
     Katelyn

     Sent from my iPad


     On Aug 4, 2021, at 3:30 PM, Rob                            wrote:


     ﻿Thanks

     Sent from my iPhone


      On Aug 4, 2021, at 12:28 PM, KG                          wrote:


      ﻿Hello Robert,

      You will be receiving shortly a confirmation email from the email address symposium@frankspeech.com
      for your attendance at the symposium.

      I just requested your hotel room and as soon as I have the reservation number I will email you with the
      hotel address and confirmation separately.

      Blessings,
      Katelyn Gamlin
      Executive Assistant

      Sent from my iPhone




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       From: Terri Pietz
          To: "MARTHA.DAVIS@
     Subject: Cyber Symposium Invitation
        Date: Mon, 02 Aug 2021 11:47:23 -0500



                                            CYBER SYMPOSIUM
                              A Data Analysis of the November 2020 Election
                                                 August 10-12, 2021


   Representative Warren Davidson,

   As a respected elected representative of the people of the United States, Mike Lindell is extending an invitation
   for you to attend the Cyber Symposium to see the cyber data from the November 2020 election captured from
   foreign sources, including China. The symposium will be held at the ALLIANCE- South Dakota Military
   Heritage Alliance Center in Sioux Falls, South Dakota on August 10th, 11th, and 12th, 2021. This will be a
   high-security event, with all invited attendees and guests cleared by Colorado Security. It will not be open to the
   public.

   There will be presentations by recognized and credentialed cyber experts from throughout the country. These
   experts will also be available to answer any questions you may have. Cyber packet captures from the
   November 2020 election will be available for review. Private breakout sessions will be available for you to
   analyze your state specific data, if you choose. The event program will be held over 3 days to best facilitate your
   needs and schedule. You may attend part or all of the symposium. It will be interactive in nature, and you will be
   free to move between rooms and presentations at any time. The main stage area will be livestreamed, but there
   will also be private breakout and interview rooms. The event program will run between 9am-5pm; with doors
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   Invited attendees will include Governors, US Senators, Lieutenant Governors, Attorneys General, State
   Representatives, Secretaries of State, and State Auditors from both parties and all states in the United States;
   Cyber Experts; and Media Representatives.

   Please RSVP as soon as possible to reserve your admittance to: symposium@frankspeech.com, including the
   names of any staff who will accompany you and the day or dates you plan to attend. We recommend any
   cyber expert you bring have, at a minimum, CISSP credentials. Registration is required for admittance. Blocks
   of rooms have been reserved for the convenience of symposium attendees at several nearby hotels; please
   coordinate your individual reservations. There will be complimentary shuttle service to the symposium from the
   nearby Sioux Falls Regional Airport.

   We look forward to having you join other leaders and experts at this important event.


   Best Regards,

   The Cyber Symposium Team
   symposium@frankspeech.com




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       From: Terri Pietz
          To: "repmatsumoto@
     Subject: Cyber Symposium Invitation
        Date: Thu, 05 Aug 2021 09:48:49 -0500




                                            CYBER SYMPOSIUM
                              A Data Analysis of the November 2020 Election
                                                 August 10-12, 2021

   Dear Representative Lauren Matsumoto,

   As a respected elected representative of the people of the United States, Mike Lindell is extending an invitation
   for you to attend the Cyber Symposium to see the cyber data from the November 2020 election captured from
   foreign sources, including China. The symposium will be held at the ALLIANCE- South Dakota Military
   Heritage Alliance Center in Sioux Falls, South Dakota on August 10th, 11th, and 12th, 2021. This will be a
   high-security event, with all invited attendees and guests cleared by Colorado Security. It will not be open to the
   public. If you have a scheduling conflict you may send a delegate on your behalf.

   There will be presentations by recognized and credentialed cyber experts from throughout the country. These
   experts will also be available to answer any questions you may have. Cyber packet captures from the
   November 2020 election will be available for review. Private breakout sessions will be available for you to
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   Representatives, Secretaries of State, and State Auditors from both parties and all states in the United States;
   Cyber Experts; and Media Representatives.

   Please RSVP as soon as possible to reserve your admittance to: symposium@frankspeech.com, including the
   names of any staff who will accompany you and the day or dates you plan to attend. We recommend any
   cyber expert you bring have, at a minimum, CISSP credentials. Registration is required for admittance. Blocks
   of rooms have been reserved for the convenience of symposium attendees at several nearby hotels; please
   coordinate your individual reservations. There will be complimentary shuttle service to the symposium from the
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   We look forward to having you join other leaders and experts at this important event.

   Best Regards,

   The Cyber Symposium Team
   symposium@frankspeech.com




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       From: Terri Pietz
          To: "CARLEY.RICH@
     Subject: Cyber Symposium Invitation
        Date: Mon, 02 Aug 2021 12:07:49 -0500



                                            CYBER SYMPOSIUM
                              A Data Analysis of the November 2020 Election
                                                 August 10-12, 2021


   Representative Glenn Thompson,


   As a respected elected representative of the people of the United States, Mike Lindell is extending an invitation
   for you to attend the Cyber Symposium to see the cyber data from the November 2020 election captured from
   foreign sources, including China. The symposium will be held at the ALLIANCE- South Dakota Military
   Heritage Alliance Center in Sioux Falls, South Dakota on August 10th, 11th, and 12th, 2021. This will be a
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   Representatives, Secretaries of State, and State Auditors from both parties and all states in the United States;
   Cyber Experts; and Media Representatives.

   Please RSVP as soon as possible to reserve your admittance to: symposium@frankspeech.com, including the
   names of any staff who will accompany you and the day or dates you plan to attend. We recommend any
   cyber expert you bring have, at a minimum, CISSP credentials. Registration is required for admittance. Blocks
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   We look forward to having you join other leaders and experts at this important event.


   Best Regards,

   The Cyber Symposium Team
   symposium@frankspeech.com




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       From: Kellie Schoenecker
          To:
     Subject: Symposium Calls
        Date: Wed, 04 Aug 2021 11:09:51 -0500


   Hey Broc,

   Please focus only on Virginia and forget about Nevada. You may need to find a bunch of new contacts.

   Thank you,

   Kellie at Lindell Management




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     From: tom
        To: Terri Pietz
    Subject
            Re: Cyber Symposium Team
          :
      Date: Wed, 04 Aug 2021 19:12:34 -0500


   Hi Terri,

   This eMail is the "only" eMail I've received from you. I did ***NOT*** receive a confirmation code eMail.
   Can you please resend?

   - tom



   On 2021-08-04 14:11, Terri Pietz wrote:


                                            CYBER SYMPOSIUM
                              A Data Analysis of the November 2020 Election
                                                  August 10-12, 2021

    Hi Tom,

    Just want to confirm that you received your confirmation code email with the event details.
    (Some of the emails have gone into the spam/junk mail folder.)


    This event is so important, and the Cyber Experts are a BIG part of this symposium.

    Please confirm by responding to this email.

    Thanks

    Have a Great Day!


    The Cyber Symposium Team
    symposium@frankspeech.com




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